      Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 1 of 17




               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

ALTAMAHA RIVERKEEPER, ONE
HUNDRED MILES, and CENTER
FOR A SUSTAINABLE COAST, INC.,

      Plaintiffs,

v.

THE UNITED STATES ARMY
CORPS OF ENGINEERS; Lieutenant
General TODD T. SEMONITE, in his
official capacity as Commanding
General of the U.S. Army Corps of
Engineers; Colonel DANIEL HIBNER
in his official capacity as District        Docket No. 4:18-cv-00251-JRH-JEG
Commander of the Savannah District;
and TUNIS McELWAIN, in his official
capacity as Chief of the Regulatory
Branch of the U.S. Army Corps of
Engineers,

      Defendants,

and

SEA ISLAND ACQUISITION, LLC,

      Intervenor Defendant.


              ANSWER OF SEA ISLAND ACQUISITION, LLC

      Intervenor-Defendant Sea Island Acquisition, LLC (“Sea Island”) responds

to the allegations contained in the corresponding numbered paragraphs in the
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 2 of 17




Complaint for Declaratory and Injunctive Relief filed by Altamaha Riverkeeper

and One Hundred Miles (collectively, “Plaintiffs”) as follows:

        RESPONSE TO ALL ALLEGATIONS OF THE COMPLAINT

      Sea Island denies each and every allegation of the Complaint not otherwise

admitted, denied, or neither admitted nor denied for lack of knowledge or

information sufficient to form a belief as to the truth of the allegations. To the

extent that the headings in the Complaint contain factual allegations that require a

response, the headings are denied.

      1.     Paragraph 1 purports to characterize Plaintiffs’ pleading, and no

response to such assertions is required. Sea Island denies that Plaintiffs have stated

a viable claim under any of the provisions cited.

      2.     Sea Island admits that the Permit authorizes (a) construction of a new

T-head groin in front of The Reserve at Sea Island, (b) dredging of between

1,315,000 and 2,500,000 cubic yards of sand from an offshore source, and (c)

nourishment of more than 17,000 linear feet of beach on Sea Island; Sea Island

further notes that the Permit contains many additional provisions and conditions.

The remaining allegations in Paragraph 2 are denied.




                                           2
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 3 of 17




      3.     Paragraph 3 purports to characterize Plaintiffs’ pleading and related

motion, and no response to such assertions is required. Sea Island denies that

Plaintiffs are entitled to any of the relief requested.

                          JURISDICTION AND VENUE

      4.     Paragraph 4 purports to characterize Plaintiffs’ pleading, and no

response to such assertions is required. Sea Island denies that Plaintiffs have stated

a viable claim under any of the provisions cited.

      5-6. Denied.

      7.     To the extent Plaintiffs raise any legally cognizable claims, which Sea

Island denies, venue is proper in this Court.

                                       PARTIES

      8-13. Sea Island lacks sufficient information to form an opinion as to the

truth of the allegations in Paragraphs 8-13 and so denies the same.

      14.    Denied.

      15-19. Sea Island lacks sufficient information to form an opinion as to the

truth of the allegations in Paragraphs 15-19 and so denies the same.

      20.    Denied.

      21.    Sea Island admits that the defendant U.S. Army Corps of Engineers

(“Corps”) is an agency within the United States Department of Defense and that



                                            3
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 4 of 17




there is a Savannah District of the Corps of Engineers. The remaining allegations

of Paragraph 21 constitute conclusions of law to which no response is required.

      22.    The first sentence of Paragraph of 22 is admitted. The second

sentence of Paragraph 22 is a conclusion of law to which no response is required.

      23.    The first sentence of Paragraph of 23 is admitted. Sea Island is

without sufficient information to form a belief as to the truth of the allegations of

the second sentence of Paragraph 23. The third sentence of Paragraph 23 is a

conclusion of law to which no response is required.

      24.    The first sentence of Paragraph of 24 is denied. The second sentence

of Paragraph 24 is a conclusion of law to which no response is required.

               FACTUAL AND PROCEDURAL BACKGROUND

      25.    Admitted.

      26.    Sea Island admits that the southernmost portion of the Island has not

been developed and that it provides habitat for some state and federally protected

turtles and shorebirds; all other allegations in Paragraph 26 are denied. Sea Island

further avers that in 2015 it conveyed to the St. Simons Land Trust a Conservation

Easement to protect the southernmost portion of the Island from further

development.




                                           4
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 5 of 17




      27.    Sea Island admits that the southernmost portion of the Island is

sometimes visited by residents of Sea Island, visitors to Sea Island, and others, and

that the area is used for paddling, surfing, bird-watching, and walking, and that this

portion of Sea Island is subject to a Conservation Easement as noted in response to

Paragraph 26. All other allegations of Paragraph 27 are denied.

      28.    Sea Island admits that it is a privately-held resort and real estate

company and that The Reserve development is located north of the Conservation

Easement boundary; all other allegations of Paragraph 28 are denied.

      29.    The October 9, 2015 permit application is in the Administrative

Record to be compiled by the Corps, and the document speaks for itself. Sea Island

admits that the lengthy application included a request for authorization to construct

a T-head groin, to construct dunes, and to nourish approximately 1,200 linear feet

of beach between the existing south groin and the proposed new groin. All

remaining allegations of Paragraph 29 are denied.

      30.    The allegations of Paragraph 30 are denied as stated. The October 9,

2015 permit application states the purpose of the project as proposed was to

stabilize the eroding beach south of the existing south groin and to provide storm

protection to the adjacent upland.




                                           5
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 6 of 17




      31.    Sea Island admits that there are currently no houses located at The

Reserve and that no lots have yet been sold; the remaining allegations of Paragraph

31 are denied.

                               Background on Groins

      32.    Sea Island admits that a groin, in coastal engineering terms, is a hard

structure often constructed of rock or steel built perpendicular to the beach. Sea

Island denies the remaining allegations of Paragraph 32.

      33.    Denied.

      34.    Sea Island admits that groins, if not properly designed and

constructed, can have negative effects in certain circumstances. Sea Island denies

the remaining allegations of Paragraph 34.

      35.    Sea Island admits that groins, if not properly designed and

constructed, can have negative effects to wildlife in certain circumstances. Sea

Island denies the remaining allegations of Paragraph 35.

      36.    Sea Island denies the allegations of Paragraph 36 as stated and as

applied to this project.

      37.    Sea Island denies the allegations of Paragraph 37 as stated and as

applied to this project.




                                          6
      Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 7 of 17




       38.    Sea Island denies the allegations of Paragraph 38 as stated and as

applied to this project.

       39.    The Corps’ Coastal Engineering Manual is a lengthy and technical

document that speaks for itself. Sea Island denies that the quoted language, which

has been taken out of context, is applicable to this project and therefore denies the

allegations of Paragraph 39. Sea Island further avers that the Corps’ Coastal

Engineering Manual explains that “[m]odern coastal engineering practice is to

combine beach nourishment with groin construction to permit sand to immediately

begin to bypass the groin field.” Coastal Engineering Manual at V-3-59-61.

       40.    Denied.

       41.    Sea Island is without sufficient information to form an opinion as to

the truth of the allegations of Paragraph 41 and so denies the same.

                      Public and Agency Opposition to the Groin

       42.    Denied.

       43-45. Denied as stated.

       46.    Admitted. Sea Island further avers that the Georgia Department of

Natural Resources Wildlife Resources Division’s Nongame Conservation Section

(“WRD”) filed no objection to the revised application that led to the Permit that is

at issue in this litigation.



                                          7
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 8 of 17




       47.    Admitted. Sea Island further avers that the United States Fish &

Wildlife Service (“USFWS”) did not recommend denial of the revised application

which led to the Permit that is at issue in this litigation.

              Consultation with the National Marine Fisheries Service
                        and the U.S. Fish & Wildlife Service

       48-50. Admitted.

       51.    Sea Island admits that the original 2015 Biological Assessment noted

that the project as originally proposed did not include an offshore borrow area; Sea

Island denies the remaining allegations of Paragraph 51. Sea Island further avers

that a “Supplemental Biological Assessment and Essential Fish Habitat

Assessment” was submitted in connection with the revised application in March

2018, which fully addressed issues relating to offshore dredging.

       52.    Sea Island admits that the original 2015 Biological Assessment noted

that the project was of limited size; Sea Island denies the remaining allegations of

Paragraph 52. Sea Island further avers that a “Supplemental Biological Assessment

and Essential Fish Habitat Assessment” was submitted in connection with the

revised application in March 2018, which fully addressed issues relating to the

increased size of the beach nourishment project.




                                            8
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 9 of 17




      53.    Sea Island admits that the USFWS and the National Marine Fisheries

Service (“NMFS”) concurred with the effects determination on the 1,200 foot

portion of the project; Sea Island denies the remaining allegations of Paragraph 53.

                      Sea Island’s Revised Permit Application

      54.    Admitted.

      55.    Sea Island admits that two major hurricanes, Matthew and Irma,

severely eroded the beach and dunes in the area of The Reserve and further south.

      56.    Admitted.

      57.    Sea Island admits that on March 6, 2018, it submitted a Supplemental

Project Description, adding offshore dredging of between 1,315,000 and 2,500,000

cubic yards of sand and placement of beach nourishment sand along up to 17,700

linear feet of shoreline, in addition to the original request to construct a new groin.

Sea Island denies the remaining allegations of Paragraph 57.

      58.    Sea Island admits that the Supplemental Project Description proposed

use of a hydraulic cutterhead dredge to dredge the offshore sand and admits that an

onshore sand source would not be sufficient for the revised beach nourishment

project; Sea Island denies the remaining allegations of Paragraph 58.




                                           9
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 10 of 17




      59.    Sea Island admits that the Supplemental Project Description also

proposed periodic recycling and management of the renourished beach, as

appropriate; Sea Island denies the remaining allegations of Paragraph 59.

      60.    Admitted. Sea Island further avers that neither the Plaintiffs nor any

other responder submitted any comment opposing the offshore dredging with

cutterhead dredge or the nourishment of the beach.

      61.    Sea Island admits that the Plaintiffs filed comments regarding the

October 2015 application and the March 2018 Supplemental Project Description;

Sea Island denies that Plaintiffs commented on the direct, indirect, or cumulative

impacts of the offshore dredging or beach nourishment aspects of the proposed

project, and further denies any remaining allegations of Paragraph 61.

      62-63. Denied.

                      The Supplemental Biological Assessment

      64.    Admitted.

      65.    Sea Island admits that the 2018 Supplementary Biological Assessment

and Essential Fish Habitat Assessment, based on a careful review of all impacts,

concluded that “all potential effects from the project are discountable,

insignificant, or beneficial, and therefore the proposed action is not likely to

adversely affect listed species in the project area.”



                                          10
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 11 of 17




          66.   Sea Island admits the first sentence of Paragraph 66. Sea Island admits

that the second and third sentences in Paragraph 66 quote from the referenced letter

but further avers that the selective quotes, out of context, do not accurately convey

the import of the letter. The letter is in the Administrative Record and speaks for

itself.

          67.   Sea Island admits that the first sentence in Paragraph 67 quotes from

the referenced letter but further avers that the selective quote, out of context, does

not accurately convey the import of the letter; Sea Island denies the remaining

allegations of Paragraph 67. The letter is in the Administrative Record and speaks

for itself.

          68.   Sea Island admits that the Corps concluded that no additional formal

consultation with NMFS was necessary; Sea Island denies the remaining

allegations of Paragraph 68.

                           The Permit and the NEPA Documents

          69-70. Denied.

          71.   Sea Island admits the Environmental Assessment concluded there

would be no significant impact from the project; Sea Island denies the remaining

allegations of Paragraph 71.




                                           11
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 12 of 17




                             LEGAL FRAMEWORK

                                   Clean Water Act

      72-82. Paragraphs 72 through 82 consist of conclusions of law to which no

response is required.

                         National Environmental Policy Act

      83-91. Paragraphs 83 through 91 consist of conclusions of law to which no

response is required.

                            STANDARD OF REVIEW

      92-97. Paragraphs 92 through 97 consist of conclusions of law to which no

response is required.

                              CLAIMS FOR RELIEF

      *Footnote 2. The allegations contained in Footnote 2 purport to characterize

a letter sent by Plaintiffs to the Corps, and no response to such assertions is

required. To the extent a response is required, Sea Island admits that after NMFS

had concurred with the original proposed project, Sea Island supplemented its

original application to seek, among other things, to nourish over 17,000 linear feet

of beach on Sea Island and to dredge up to 2.5 million cubic yards of sand from

offshore using a hydraulic cutterhead dredge. The first and final sentences of




                                          12
    Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 13 of 17




Footnote 2 consist of conclusions of law to which no response is required. Sea

Island denies any remaining allegations of Footnote 2.

                                    Claim One

      98.   Sea Island incorporates by reference its responses to the allegations

contained in the preceding paragraphs.

      99-100. Paragraphs 99 through 100 consist of conclusions of law to which

no response is required.

      101-102. Denied.

                                    Claim Two

      103. Sea Island incorporates by reference its responses to the allegations

contained in the preceding paragraphs.

      104-106. Paragraphs 104 through 106 consist of conclusions of law to

which no response is required.

      107-108. Denied.

                                   Claim Three

      109. Sea Island incorporates by reference its responses to the allegations

contained in the preceding paragraphs.

      110. Paragraph 110 consists of conclusions of law to which no response is

required.



                                         13
    Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 14 of 17




      111-112. Denied.

                                      Claim Four

      113. Sea Island incorporates by reference its responses to the allegations

contained in the preceding paragraphs.

      114. Paragraph 114 consists of conclusions of law to which no response is

required.

      115-117. Denied.

                                PRAYER FOR RELIEF

      Sea Island denies Plaintiffs are entitled to any of their Prayers for Relief.

                           AFFIRMATIVE DEFENSES

                                First Affirmative Defense

      The Complaint should be dismissed for failure to state a claim upon which

relief can be granted.

                               Second Affirmative Defense

      The Complaint should be dismissed because Plaintiffs lack standing to raise

some or all of their claims.

                               Third Affirmative Defense

      Plaintiffs have failed to exhaust their administrative remedies on issues not

presented to the Corps of Engineers during the public notice and comment process.



                                           14
    Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 15 of 17




                          Fourth Affirmative Defense

      The Complaint should be dismissed because the Permit was issued in

compliance with all applicable substantive and procedural requirements.

      WHEREFORE, Sea Island denies that Plaintiffs are entitled to any relief

whatsoever and prays for judgment as follows:

      A.    Dismissing Plaintiffs’ Complaint for Declaratory and Injunctive

            Relief with prejudice;

      B.    Awarding Sea Island its costs for defending this action, including

            reasonable attorneys’ fees; and

      C.    Such other and further relief that this Court deems just and proper.

      Respectfully submitted, this 19th day of December, 2018.


HALL BOOTH SMITH, P.C.                        KING & SPALDING LLP

 /s/ James B. Durham                        PATRICIA T. BARMEYER
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                                        15
       Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 16 of 17



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

ALTAMAHA RIVERKEEPER, ONE
HUNDRED MILES, and CENTER FOR
A SUSTAINABLE COAST, INC.,
        Plaintiffs,
 v.                                                             CIVIL ACTION NO.
                                                              4:18-cv-00251-JRH-JEG
THE UNITED STATES ARMY CORPS OF
ENGINEERS; Lieutenant General TODD T.
SEMONITE, in his official capacity as
Commanding General of the U.S. Army Corps
of Engineers; Colonel DANIEL HIBNER, in
his official capacity as District Commander of
the Savannah District; and TUNIS
McELWAIN, in his official capacity as Chief
of the Regulatory Branch of the U.S. Army
Corps of Engineers,
        Defendants,
 and
SEA ISLAND ACQUISITION, LLC,
        Intervenor Defendant.

                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing ANSWER OF SEA ISLAND
ACQUISITION, LLC with the Clerk of Court for the United States District Court for the
Southern District of Georgia by using the CM/ECF system, which will send a notification of
such filing to the following attorneys of record:
  William W. Sapp, Esq.                             Martha C. Mann, Esq.
  Megan Hinkle Huynh, Esq.                          Dedra S. Curteman, Esq.
  Bob Sherrier, Esq.                                United States Department of Justice
  Southern Environmental Law Center                 Attorneys for Federal Defendants
  Attorneys for Plaintiffs Altamaha
  Riverkeeper and One Hundred Miles

  Kimberly A. Sturm, Esq.
  Weissman, PC
  Attorney for Plaintiff Center for a
  Sustainable Coast, Inc.
     Case 4:18-cv-00251-JRH-JEG Document 25 Filed 12/19/18 Page 17 of 17



      This 19th day of December, 2018.

                                          HALL BOOTH SMITH, P.C.

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                                         -2-
